Case 3:17-cv-00204-RGJ-LLK Document 12 Filed 05/22/17 Page 1 of 2 PageID #: 60




                       UNITED STATES DISTRICT COURT
                                            for the
                                  Western District of Kentucky
                                      Louisville Division

Reginald Green                         )
      Plaintiff                        )
                                       )
v.                                     )               Case No.        3:17-cv-00204-TBR
                                       )
ARS Account Resolution Services et al. )
     Defendants                        )
                                       )

                     NOTICE OF SETTLEMENT AS TO DEFENDANT
                          WAKEFIELD & ASSOCIATES, INC.

       Please take notice that Plaintiff, Reginald Green, has reached a settlement with Defendant

Wakefield & Associates, Inc. in this case. Once the settlement is final, the parties will file a joint

stipulation of dismissal with prejudice. This Notice does not affect, and is not intended to affect,

Plaintiff’s claims against any other Defendant in this action.



                                       Respectfully Submitted,

                                       /s/ James H. Lawson
                                       James H. Lawson
                                       Lawson at Law, PLLC
                                       115 S. Sherrin Avenue, Suite 4
                                       Louisville, KY 40207
                                       Tel: (502) 473-6525
                                       Fax: (502) 473-6561
                                       E-mail: james@kyconsumerlaw.com
                                       Counsel for Plaintiff
                                       Reginald Green
Case 3:17-cv-00204-RGJ-LLK Document 12 Filed 05/22/17 Page 2 of 2 PageID #: 61




                                 CERTIFICATE OF SERVICE

        This is to certify that on this 22nd day of May, 2017, I electronically filed the foregoing
Notice of Settlement via U.S. Mail via the Court’s CM/ECF system, which will send a notice of
electronic filing to all counsel of record.

                                      /s/ James H. Lawson
                                      Counsel for Plaintiff
                                      Reginald Green




                                                 2
